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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

                                                      *
IN RE: KATRINA CANAL                                  *
BREACHES
CONSOLIDATED LITIGATION                               *       CIVIL ACTION
                                                      *
                                                      *       NO. 05-4182
                                                      *       and consolidated cases
PERTAINS TO: BARGE                                    *
                                                      *       SECTION “K” (2)
Boutte v. Lafarge                   05-5531           *
Mumford v. Ingram                   05-5724           *
Lagarde v. Lafarge                  06-5342           *       JUDGE
Perry v. Ingram                     06-6299           *       STANWOOD R. DUVAL, JR.
Benoit v. Lafarge                   06-7516           *
Weber v. Lafarge                    08-4459           *       MAGISTRATE
Parfait Family v. USA               07-35001          *       JOSEPH C. WILKINSON, JR.




           LAFARGE NORTH AMERICA INC.’S MEMORANDUM OF LAW IN
                    SUPPORT OF MOTION FOR SUMMARY JUDGMENT




1
 Parfait Family v. USA, No. 07-3500, remains stayed and administratively closed. Doc. 13525. However, this
motion would apply equally to that case if it were ever to be reopened. See Doc. 32 in No. 07-3500 (granting
summary judgment to Zito Fleeting, LLC and Zito Fleeting, Inc.).



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                                        INTRODUCTION

        Causation is the dispositive issue in all of the remaining Barge Track cases, as it was for

the claims tried to the Court in the summer of 2010. Following a three-week trial, the Court

ruled that the Barge ING 4727 played no role in causing either of the two floodwall breaches on

the eastern side of the Inner Harbor Navigation Canal during Hurricane Katrina, finding:

“Simply put, the Barge did not do it.” Findings of Fact and Conclusions of Law (“FFCL”), Doc.

20149 at 41 (emphasis added).

        No reasonable jury could conclude otherwise. It is simply physically impossible for the

barge to have been present at the site of either of the two IHNC breaches – the North Breach or

the South Breach – at the time those breaches occurred. The barge could not have caused either

breach. The extensive record, developed over the nearly six years that these cases have been

pending, will brook no other conclusion. Accordingly, the Court should enter summary

judgment in favor of defendant Lafarge North America Inc. (“LNA”) on all remaining claims,

and bring this litigation to a close.

                                           ARGUMENT

I.      SUMMARY JUDGMENT STANDARD

        A.       General Standard.

        Summary judgment is proper when there is “no genuine dispute as to any material fact”

and “the movant is entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(a). “One of the

principal purposes of the summary judgment rule is to isolate and dispose of factually

unsupported claims or defenses.” Celotex Corp. v. Catrett, 477 U.S. 317, 323-24 (1986). Thus,

“[w]here the record taken as a whole could not lead a rational trier of fact to find for the non-

moving party, there is no genuine issue for trial.” Matsushita Elec. Indus. Co. v. Zenith Radio

Corp., 475 U.S. 574, 587 (1986) (citation and internal quotation marks omitted); Anderson v.

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Liberty Lobby, Inc., 477 U.S. 242, 249 (1986). Once the moving party has identified those

portions of the record which it believes show the absence of a genuine issue of material fact, the

non-moving party must proffer sufficient evidence to show that a reasonable jury could find in

its favor – that is, that “reasonable jurors could find by a preponderance of the evidence that the

plaintiff is entitled to a verdict.” Anderson, 477 U.S. at 249-50, 252.2 The existence of “some

evidence” favoring the non-moving party will not prevent summary judgment unless the

evidence is “of such a character that it would warrant the jury in finding a verdict in favor of that

party.” Anderson, 477 U.S. at 251 (quoting Improvement Co. v. Munson, 14 Wall. 442, 448

(1872)).

        B.       Plaintiffs Must Show a “Genuine Issue,” Not Just a Fact Dispute.

        A “genuine issue” may be lacking even when the non-moving party purports to “dispute”

facts in issue. In particular, summary judgment is proper, even when a “dispute” exists, if the

evidence would not allow a reasonable jury to find for the non-moving party. See id. at 248-49.

The United States Supreme Court has cautioned that “[w]hen opposing parties tell two different

stories, one of which is blatantly contradicted by the record, so that no reasonable jury could

believe it, a court should not adopt that version of the facts for purposes of ruling on a motion for

summary judgment.” Scott v. Harris, 550 U.S. 372, 380 (2007). The Fifth Circuit, sitting en

banc, has held that “summary judgment is appropriate in any case where critical evidence is so

weak or tenuous on an essential fact that it could not support a judgment in favor of the

nonmovant.” Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (en banc) (citation

2
 See also Frakes v. Crete Carrier Corp., 579 F.3d 426, 430-31 (5th Cir. 2009) (“[P]laintiff has the burden to put
forth sufficient evidence to create a genuine dispute” as to a material fact); Florida Dep’t of Ins. v. Chase Bank of
Texas Nat’l Ass’n, 274 F.3d 924, 928 (5th Cir. 2001) (“After a defendant properly moves for summary judgment, the
non-movant plaintiff must bring forward sufficient evidence to demonstrate that a genuine issue of material fact
exists on every element of a claim.”); Ginsberg 1985 Real Estate P’ship v. Cadle Co., 39 F.3d 528, 531 (5th Cir.
1994) (“An issue is ‘genuine’ if the evidence is sufficient for a reasonable jury to return a verdict for the non-
moving party.”).


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and internal quotation marks omitted). Thus, “[e]vidence purporting to create doubts as to the

facts that is too incredible to be accepted by reasonable minds will not prevent summary

judgment.” Barker v. Norman, 651 F.2d 1107, 1127 (5th Cir. 1981) (citation and internal

quotation marks omitted).

         Several points of law follow from these basic principles. First, “[e]vidence manifestly at

variance with the laws of nature and the physical facts is of no probative value and may not

support a jury verdict.” E.g., Ralston Purina Co. v. Hobson, 554 F.2d 725, 729 (5th Cir. 1977)

(holding that trial court properly disregarded the plaintiff’s testimony because “[w]hat Hobson

says his chickens did, chickens do not do”); Molden v. Ga. Gulf Corp., 465 F. Supp. 2d 606, 613-

14 (M.D. La. 2006) (scientific evidence showed it was impossible for plaintiffs’ injuries to have

been caused by toxic release); In re Chavin, 150 F.3d 726, 729 (7th Cir. 1998) (noting “the

thoroughly orthodox proposition … that the trial judge may not permit the jury to accept

testimony that is contrary to a law of nature”) (citation omitted).3

         Second, equivocal or vague testimony cannot be relied on to overcome summary

judgment. Stahl v. Novartis Pharm. Corp., 283 F.3d 254, 271-72 (5th Cir. 2002) (holding that

“equivocal and ill-supported [expert] testimony is simply insufficient to preclude summary

judgment on [plaintiff’s] inadequate warning claim”); Kampen v. Am. Isuzu Motors, Inc., 157

F.3d 306, 318 (5th Cir. 1998) (en banc) (expert testimony consisting of “conclusory, unsupported

assertions” does not create genuine issue).4

3
  See also Wickware v. Thaler, 404 Fed. App’x 856, 860 (5th Cir. 2010) (summary judgment appropriate where
plaintiff’s claim was “both belied by the record and impossible”); Seshadri v. Kasraian, 130 F.3d 798, 802 (7th Cir.
1997) (“Documents or objective evidence may contradict the witness’ story; or the story itself may be so internally
inconsistent or implausible on its face that a reasonable factfinder would not credit it. … [T]estimony can and should
be rejected without a trial if, in the circumstances, no reasonable person would believe it.”) (citation and internal
quotation marks omitted); Kesinger v. Herrington, 381 F.3d 1243, 1249 (11th Cir. 2004) (eyewitness testimony was
contradicted by physical evidence as well as other witness testimony).
4
  See also Bright v. GB Bioscience Inc., 305 Fed. App’x 197, 203-04 (5th Cir. 2008) (plaintiff’s reliance on vague
testimony failed to raise genuine issue); White v. Black & Decker (U.S.) Inc., No. Civ. A. 03-0874, 2004 WL

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        Finally, a party may not avoid summary judgment by relying on an unsubstantiated

interpretation of its own evidence – i.e., by interpreting the evidence in a manner the evidence

simply will not bear. Michaels v. Avitech, Inc., 202 F.3d 746, 753-54 (5th Cir. 2000) (affirming

summary judgment, finding that inference of causation did not follow from plaintiff’s expert

evidence); Little, 37 F.3d at 1077 (rejecting plaintiff’s inference that “nasal fatigue” caused

decedent’s failure to smell combustible gas where evidence did not support that inference).5

        Here, the overwhelming evidence establishes as a matter of scientific fact that the Barge

ING 4727 could not have caused and did not cause either of the IHNC floodwall breaches.

Plaintiffs’ “evidence” raises no genuine issues because it contravenes the laws of nature and

physical science, consists of equivocal accounts, and will not bear the interpretation plaintiffs

give it. No reasonable jury could find in plaintiffs’ favor.

        C.       Summary Judgment on Causation is Appropriate.

        The core principle of the substantive law of causation is that “[a] defendant’s actions

must be the cause in fact of a plaintiff’s injuries in order for the plaintiff to be able to recover.”

Moser v. Texas Trailer Corp., 623 F.2d 1006, 1013 (5th Cir. 1980). As this Court observed in its

Findings of Fact and Conclusions of Law following the June 2010 trial, this principle requires

the plaintiff to show that the event at issue “would not have occurred but for the defendant’s

negligent acts.” FFCL at 37 (quoting Moser, 623 F.2d at 1012-13). Similarly, applying the

“substantial factor” test that is sometimes used in multiple-cause settings, the Court noted that “if

the plaintiff’s harm would have occurred in the absence of the defendant’s act or omission, the

act is not a substantial factor” in causing the injury. FFCL at 37 (quoting Thomas J.


1373271, at *9 (E.D. La. June 16, 2004) (summary judgment granted where plaintiff’s expert did not provide
adequate factual support for assertions), aff’d 122 Fed App’x 795 (5th Cir. 2005).
5
 See also Sievers v. Beechcraft Mfg. Co., 497 F. Supp. 197, 199-202 (E.D. La. 1980) (causal connection between
airplane crash and alleged aircraft defect could not be inferred from physical evidence).


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Schoenbaum, Admiralty and Maritime Law, § 5-3 (4th ed. 2004)). Applying these principles,

courts have not hesitated to grant summary judgment in cases where it was clear, and without

genuine dispute, that the defendant’s actions did not cause the plaintiff’s injuries. Little, 37 F.3d

at 1075-78 (no genuine issue of fact in gas leak explosion case); Bach v. Trident S.S. Co., 920

F.2d 322, 327 (5th Cir. 1991) (summary judgment was proper where “no rational factfinder

could conclude that the crew’s failure to administer CPR more likely than not caused Bach’s

death”).6

         D.       Summary Judgment Based on the Trial Record is Proper.

         The record in these cases encompasses dozens of fact depositions, two rounds of expert

reports and depositions, and a three-week bench trial. Although the trial considered only the

claims of four plaintiffs, the sworn testimony of the trial witnesses is properly before the Court in

a motion for summary judgment against the remaining plaintiffs.7 The Fifth Circuit and other

courts routinely allow parties to rely on sworn testimony and other evidence from prior

proceedings to support motions for summary judgment regardless of whether the party opposing

the evidence was involved in the prior litigation. Kelley v. Price-Macemon, Inc., 992 F.2d 1408,

1415 (5th Cir. 1993) (affirming lower court’s reliance “upon the testimony offered at the prior

trial” and noting that “[i]t is well-settled that a certified transcript of a judicial proceeding may be

considered on a motion for summary judgment”) (citing Langston v. Johnson, 478 F.2d 915, 918

6
  See also, e.g., Ralston Purina Co. v. Hobson, 554 F.2d 725, 729 (5th Cir. 1977) (setting aside jury verdict on
causation of poultry mortality); In re Ingram Towing Co., No. 93-3311, 1995 U.S. Dist. LEXIS 15034, at *3 (E.D.
La. Oct. 4, 1995) (Duval, J.) (granting summary judgment on causation in toxic exposure case, finding that it was
“impossible for any person to have become ill due to the oil spill from drinking tap water in the days following the
accident”); Evans v. McKinney Marine, Inc., No. 96-0132, 1997 U.S. Dist. LEXIS 2148 (E.D. La. Feb. 21, 1997)
(granting summary judgment on causation of marine casualty), aff’d, 127 F.3d 34 (5th Cir. 1997); Molden v. Ga.
Gulf Corp., 465 F. Supp. 2d 606, 613-14 (M.D. La. 2006) (granting summary judgment on causation in chemical
exposure case); Sievers v. Beechcraft Mfg. Co., 497 F. Supp. 197, 203-04 (E.D. La. 1980) (granting summary
judgment on causation of air crash).
7
  LNA has also submitted declarations from its expert witnesses (Exhibits 36-42 to the Statement of Material Facts)
that confirm that if called to testify again, each witness would testify to the same effect.


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(D.C. Cir. 1973)); see also Deen v. Egleston, 601 F. Supp. 2d 1331 (S.D. Ga. 2009) (permitting

plaintiff to rely on depositions from other actions not involving defendant to support motion for

summary judgment); Beiswenger Enterprises Corp. v. Carletta, 46 F. Supp. 2d 1297, 1299

(M.D. Fla. 1999) (“Trial testimony, even when from a proceeding in which the parties, subject

matter, and counsel are not the same can be used because it is sworn testimony which is at least

as reliable as that found in affidavits.”) (citing Langston, 478 F.2d at 917 n.17); Kraft Gen.

Foods, Inc. v. Cattell, 18 F. Supp. 2d 280, 284 (S.D.N.Y. 1998) (“Sworn testimony from another

trial is admissible on a motion for summary judgment. ... Transcript testimony serves the same

purpose as an affidavit under [Rule] 56, and is comparable in that each form of testimony is

sworn and submitted without cross-examination by the adverse party.”) (citations omitted);

Boston Athletic Ass’n v. Sullivan, 867 F.2d 22, 24 (1st Cir. 1989) (“Reference to prior trial

testimony and exhibits is proper in summary judgment cases.”) (citation omitted).8

         LNA’s motion for summary judgment based on the record established at the June 2010

trial (among other evidence) does not ask or require the Court to make any credibility or other

determinations that would be within the province of the jury in a subsequent trial. As noted

above (at 3-4), witness testimony that is equivocal, or that is contrary to the laws of nature, or

that will not support the inferences ascribed to it by the non-moving party, will not prevent

summary judgment.9 Necessarily, then, the Court is authorized to determine that witness


8
  In addition, the cited trial testimony and evidence would be admissible at trial because the remaining plaintiffs had
identical interests to the four plaintiffs whose claims were at issue in the first trial, and they are represented by the
same group of lawyers. See Fed. R. Evid. 804(b)(1) (former testimony admissible where party or predecessor in
interest had opportunity and similar motive to cross-examine); Dartez v. Fiberboard Corp., 765 F.2d 456, 462-63
(5th Cir. 1985) (identity of interest supported introduction of former testimony); United States v. McDonald, 837
F.2d 1287, 1291 (5th Cir. 1988) (same).
9
  See cases cited above at 3-4; see also, e.g., Lee v. Kansas City S. Ry. Co., 574 F.3d 253, 258 (5th Cir. 2009)
(“speculative inferences” are “insufficient to demonstrate the existence of a genuine issue of material fact”); New
England Merch. Nat’l Bank v. Rosenfield, 679 F.2d 467, 473 (5th Cir. 1982) (“[w]hile neither we nor the trial judge
may make credibility choices, neither court is required to accept, as credible, unsupported self-serving testimony
that flies in the teeth of unimpeachable contradictory evidence and universal experience”) (citations omitted); White

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testimony falls within one of these categories, and to determine on that basis that no reasonable

jury could rule in the plaintiffs’ favor. That is a proper ground for the Court to enter summary

judgment in LNA’s favor on the remaining plaintiffs’ claims.

II.     IT IS SCIENTIFICALLY IMPOSSIBLE FOR THE BARGE TO HAVE BEEN
        PRESENT WHEN THE BREACHES OCCURRED.

        A.       Hurricane Winds Prevented the Barge from Being Present at Either Breach.

                 1.      Multiple independent scientific data sources confirm wind direction at the
                         IHNC.

        The record in this case establishes what the Court found to be “clear and beyond

peradventure” – that “the winds at the IHNC blew in a northeasterly direction” between 4:00

a.m. and 7:45 a.m. on the morning of August 29, and thus “would have pushed the Barge

towards the west and away from the east bank where the breaches occurred.” FFCL at 17.

Fundamental principles of atmospheric science and several sets of mutually-reinforcing scientific

data compel this conclusion, and no reasonable jury could find otherwise.

        First, according to “fundamental laws of physics applied to the atmosphere” (FFCL at

15), hurricane winds in the northern hemisphere blow in a counterclockwise direction around the

center (or “eye”) of the hurricane. Statement of Material Facts (“SMF”) ¶ 12. Thus, “the area

experiencing the north-west quadrant of the wind field of a hurricane will experience winds

blowing in a north, north-easterly direction prior to the passage of the eye past that area.” FFCL

at 15. Katrina’s undisputed storm track, accepted by experts on both sides, shows that the eye of

the storm was to the southeast of the IHNC at all times prior to 8:00 a.m. on the morning of

August 29, placing the IHNC in the northwest quadrant of the storm. FFCL at 15-16 & App. 5,

6, Map 2; SMF ¶¶ 13, 14. Thus, Katrina’s counterclockwise hurricane winds blew from the

v. Omega Protein Corp., 390 F. Supp. 2d 604, 609 (S.D. Tex. 2005) (court on summary judgment is “not required to
accept as true a statement that no reasonable person would believe”), aff’d on other grounds, 226 Fed. App’x 360
(5th Cir. 2007).


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northeast at the IHNC during the critical morning hours (between 4:00 a.m. and 7:45 a.m.) when

the two breaches occurred. FFCL at 16 (“prevailing winds were in a northeasterly direction”);

SMF ¶¶ 15, 16.

        Second, data from the system-wide hindcast prepared by Oceanweather Inc. (“OWI”), a

leading authority on hurricane and tropical storm hindcasting, showed that hurricane winds at the

IHNC blew from the northeast at all times prior to 7:42 a.m. SMF ¶ 17; FFCL at 16-17. IPET

relied on this same OWI hindcast in reporting on Katrina’s wind field. FFCL at 16.

        Third, local data taken from the Lakefront Airport, four miles from the IHNC location,

also showed winds blowing from the northeast during the early morning hours of August 29.

SMF ¶ 18. The Court noted that this data, taken between 3:00 a.m. and 7:53 a.m., is “in line with

the hindcast models.” FFCL at 17.

        Fourth, radar data from the National Weather Service’s weather station at Slidell,

Louisiana, showed a “uniform wind field from the northeast” during all relevant times on the

morning of August 29. SMF ¶ 19. Every six-minute image showed “base radial velocity” data

expressed in shades of red, indicating winds blowing away from the radar at the IHNC location

(i.e., from the northeast). SMF ¶ 20.

        Fifth, the independent investigations conducted by IPET, ILIT, and Team Louisiana

separately arrived at the same conclusion. See SMF ¶ 43. As this Court noted, Team Louisiana

concluded that the wind at the IHNC came from the northeast until no earlier than 8:30 a.m. or

9:00 a.m. on August 29, “making it impossible for the Barge to be traveling in an easterly

direction” prior to that time. FFCL at 29.




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                 2.    The barge could not have been present at the North Breach or South
                       Breach.

        The North Breach occurred no later than 6:00 a.m. on the morning of August 29. SMF

¶ 29. At that time – and at all times between the hours of 4:00 a.m. and at least 7:45 a.m. – the

winds at the IHNC blew from a northeasterly direction, pushing the barge toward the west and

away from the site of the breach. SMF ¶¶ 16-20, 31. Thus, as the Court concluded, “the

evidence is overwhelming that the wind could not have moved the Barge” to the site of the North

Breach. FFCL at 17. It was therefore “impossible” for the barge to have been present at the

North Breach. Id. at 17, 23.

        The South Breach occurred at approximately 7:00 a.m. on the morning of August 29.

SMF ¶ 30; FFCL at 26, 29. Winds at the IHNC blew from the northeast through and including

that time. SMF ¶¶ 16-20, 31. Thus, as the Court concluded, “[t[he inextricable fact is that there

was no wind blowing from the west at 7:00 a.m. in the morning,” but rather, “[f]rom 4:30 a.m. to

7:00 a.m., it is clear that the wind was blowing in a northeasterly direction at the IHNC,” and

thus, “the wind was blowing the Barge into the dock not away from the dock.” FFCL at 28.

Therefore, “the Barge could not have been present when the South Breach began around 7:00

a.m. on the morning of August 29, 2005.” FFCL at 26.

                 3.    Plaintiffs’ meteorological evidence does not create a genuine fact dispute.

        The record contains no evidence that could create a genuine dispute of fact regarding the

direction of the prevailing wind and its implications for the movement of the barge. In

particular, the Court found that the testimony of Dr. Mitchell, plaintiffs’ meteorological expert,

was “unreliable” because it relied on radar data that had not been dealiased. FFCL at 18 & n.12.

Expert evidence that a court finds to be “unreliable” cannot be used to create a genuine dispute

of material fact. Wells v. SmithKline Beecham Corp., 601 F.3d 375, 381 (5th Cir. 2010)


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(“unreliable” scientific evidence could not be used to forestall summary judgment); Michaels,

202 F.3d at 753-54 (affirming summary judgment where plaintiff’s expert evidence was “not

significantly probative”).

        Moreover, and in any event, Dr. Mitchell’s testimony does not create a genuine fact

dispute regarding the movement of the barge. In particular, Dr. Mitchell’s testimony regarding

supposed microburst winds does not create a genuine fact dispute because, as the Court found,

microburst winds last only 3 to 5 seconds and are random in direction (per Dr. Mitchell), and

thus “no evidence was presented to demonstrate, nor can this Court envision, that a three to five

second wind burst(s) occurred, and if so, such was or were sufficient to move the Ingram Barge

in the manner which is required for plaintiffs’ theory of the case to be based in reality.” FFCL at

18-19; Mitchell Tr. 955:22-25, 1036:3-21 (SMF Ex. 1.H).

        B.       Other Evidence Confirms the Barge Was Not Present at the North Breach.

        Wind was the predominant force acting on the empty barge, which was sticking twenty

feet out of the water and thus had a large “sail area” exposed to the wind. SMF ¶¶ 8, 9. There

was no other force in the IHNC that could have acted on the barge to move it in a direction other

than that of the prevailing wind. Accordingly, the Court found that there was “no possible way

for a Barge without motor power to travel north … to near the Florida Avenue Bridge with the

wind blowing from the north,” and that plaintiffs’ contentions to the contrary “belie physics and

common sense.” FFCL at 17.

        Additional evidence reinforces and confirms that the barge was not present at the North

Breach, and plaintiffs have failed to supply any evidence to create a genuine fact dispute.




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                 1.    Waves, current and tidal flow could not have caused the barge to be
                       present.

        The undisputed evidence shows that waves and/or current and/or tidal flow in the IHNC

could not have moved the barge to the site of the North Breach. Regarding waves, photographic

evidence showed that at the height of the storm, waves in the IHNC were on the order of one to

three feet, and these modest wave heights were confirmed by water level data from the IHNC

lockmaster and scientific modeling of wave heights. SMF ¶ 25. Regarding current, the presence

of the IHNC lock caused the flow of water in the canal to be “akin to filling a bathtub with

water” (FFCL at 27); thus, plaintiffs’ own expert acknowledged that current in the IHNC was

“insignificant,” and scientific modeling showed that the effect of current was 700 times less than

the strength of wind on the barge. SMF ¶¶ 21, 22. Similarly, tidal flow could not have moved

the barge because tidal flow in the IHNC is on the order of only one inch per hour, and because

Katrina’s gradually-rising storm surge caused the net flow during each hourly interval to be into

the IHNC, opposite the direction the barge would have had to travel to reach the site of the North

Breach. SMF ¶ 23. In short, there was no force in the IHNC to counteract the effect of the

prevailing wind moving the barge away from the site of the breaches, and no reasonable jury

could conclude otherwise.

                 2.    Physical evidence shows the barge was not present.

        Physical evidence confirms that it was impossible for the barge to have been present at

the site of the North Breach. First, a utility pole left standing after the storm on the IHNC side of

the breach, smack in the middle of the path the barge would have had to take to approach the

breached area, proves that the barge could not have been present – otherwise the pole would

have been destroyed. SMF ¶¶ 36, 37. Second, there was no evidence of any impact damage on

the floodwall or the barge that could be associated with an allision at the site of the North


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Breach. SMF ¶ 38.10 Thus the Court found that “an allision did not occur” at the North Breach –

and, indeed, that it was “impossible” for such an allision to have occurred. FFCL at 24-25.

                    3.       Plaintiffs have no evidence to create a genuine dispute.

           Plaintiffs’ evidence does not suffice to create a genuine dispute of fact with regard to the

North Breach. In particular, the testimony of William Villavasso – plaintiffs’ lone fact witness

with regard to the North Breach – would not allow a reasonable jury to find in their favor. First,

Mr. Villavasso’s testimony was equivocal in the extreme. All he could say was that, in the dark

and rain and without his glasses, he thought he saw the “tip” of a “metal structure”; but when

shown a picture of the ING 4727 and asked whether it “look[ed] anything like that,” he

answered, “I really couldn’t tell.” Villavasso Dep. 64:4-24, 65:1-2, 66:5-6 (SMF Ex. 34)

(emphasis added).11 Second, Mr. Villavasso’s testimony cannot support plaintiffs’ version of the

facts because the object he described could not have been the ING 4727. In particular, the object

that Mr. Villavasso described was sticking up only “two feet at most” above the top of the

floodwall, while the ING 4727, had it been present, would have been sticking up at least fourteen

feet above the top of the wall. Id. at 202:11-17; Cushing Tr. 2100:11-14 (SMF Ex. 1.N); Marino

Tr. 1325:10-13 (SMF Ex. 1.I). Finally, for the reasons noted above (at 7-10), it was impossible

for the barge to have traveled to the North Breach against Katrina’s winds blowing from the

northeast. The Court rejected plaintiffs’ reliance on Mr. Villavasso’s testimony, finding the

testimony “equivocal” and “physically impossible,” and noting that if the barge had been

present, Mr. Villavasso would necessarily have seen more than the “tip” of it. FFCL at 22-23

(emphasis added). For all three of these reasons, Mr. Villavasso’s testimony does not create a

10
  The Court handily rejected the suggestion of plaintiffs’ expert that “scrape marks” on the wall represented
evidence that the barge had been present at the North Breach, finding it “clear that the ‘scrape marks’ are nothing
more than the remnants of grass cutting machines used along the levee.” FFCL at 25 n.17.
11
     Mr. Villavasso’s testimony was by video deposition as he is deceased.


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genuine dispute of fact, and summary judgment is appropriate. See Bright, 305 Fed. App’x at

203-04 (equivocal testimony); Ralston Purina, 554 F.2d at 729 (impossible testimony);

Michaels, 202 F.3d at 753-54 (unsupported inference).

        Plaintiffs likewise cannot manufacture a genuine dispute of fact based on the testimony

of Mr. Tompkins and Ms. LeBlanc, who purportedly saw the barge loose in the canal on Sunday

morning, August 28. Their testimony was no less equivocal than that of Mr. Villavasso, given

that neither of them had more than “a few seconds” to observe the Canal as they drove across the

Claiborne Avenue Bridge, and neither of them definitively identified the object they saw as the

ING 4727. LeBlanc Tr. 381:8-9 (“a couple of seconds”) (SMF Ex. 1.C); Tompkins Tr. 404:11-

13 (“a few seconds”) (SMF Ex. 1.D). Moreover, it is undisputed that the weather was calm on

Sunday, with no high winds that could have caused the barge to break free or move within the

canal, whereas plaintiffs’ own expert opined that the barge “broke away during hurricane

conditions,” and the fused and melted mooring ropes confirmed the breakaway occurred under

extreme conditions. SMF ¶ 10. Thus, not only did the Court find that the barge did not break

away in calm weather on Sunday August 28 (FFCL at 12-14), but also that plaintiffs’ contentions

regarding the transit of the barge “belie physics and common sense.” Id. at 17. No reasonable

jury could find in plaintiffs’ favor based on such contentions.

        C.       Other Evidence Confirms the Barge Was Not Present When the South
                 Breach Occurred.

        As detailed in above (at 7-10), Katrina’s prevailing hurricane winds blowing from the

northeast could not have caused the barge to travel to the site of the South Breach at the time that

the breach occurred (i.e., before 7:00 a.m.). As is true for the North Breach, moreover, ample

additional evidence reinforces and confirms the conclusion that the barge was not present – and




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could not have been present – when the South Breach occurred, and plaintiffs have no evidence

that could create a genuine fact dispute on this issue.

                 1.     Waves and current could not have caused the barge to be present.

        As discussed above (at 10-11), photographic evidence and scientific modeling alike

confirmed that waves in the IHNC during Hurricane Katrina reached heights of only one to three

feet. Though plaintiffs at one time speculated that a twenty-foot “meteotsunami” might have

caused the barge to move to the site of the South Breach, that speculation fails to present a

genuine dispute of fact because: (a) measurements taken by the lockmaster (Mr. O’Dowd), and

his own testimony, showed there was no twenty-foot wave; (b) photographic evidence showed

actual wave heights were only between one and three feet at the height of the storm; (c) a twenty-

foot wave is scientifically impossible because the IHNC is too shallow to support such a wave;

and, (d) a twenty-foot wave, had it occurred, would have destroyed buildings and facilities, such

as the lockmaster’s office, that remained intact after the storm. SMF ¶¶ 24-28. At trial, not even

plaintiffs’ own experts would espouse the theory of a twenty-foot wave in the IHNC. Pazos Tr.

872:4-9 (admitting he did not have “any solid information” to support meteotsunami theory)

(SMF Ex. 1.G); Spinks Tr. 1614:21-24 (no evidence of 20-foot waves) (SMF Ex. 1.J).

        Based on the evidence, the Court found that “it is clear that there was no 20-foot monster

wave.” FFCL at 20. The Court further found that there was “no physical or scientific evidence

that there was any kind of giant wave or tidal action in the IHNC at the time of the South Breach

that could have propelled the Barge” toward that breach, and that “[a]ny current would have had

minimal effect on [the] Barge compared to the wind acting on the [B]arge.” FFCL at 27.

Plaintiffs have no basis to contend otherwise, nor any evidence to show that a genuine dispute

exists as to any of these facts.



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                 2.   Physical evidence shows the barge was not present.

        As the Court found, physical evidence from the South Breach “indicates overwhelmingly

that the floodwall cataclysmically failed prior to the Barge coming into contact with the

floodwall.” FFCL at 26. The Court noted, “the most telling physical evidence that this Barge

floated into the Lower Ninth Ward at a time when the water was already at a catastrophic level

are photographs that show unequivocally that the Barge floated over a bus on its path and over

telephone lines upon which the vessel settled when the water subsided.” FFCL at 35. The barge

could not have floated over top of the school bus and settled on top of the telephone lines unless

the floodwaters were higher than the top of the school bus and the telephone lines when the

barge arrived; otherwise, the bus would have been crushed and the telephone lines toppled. SMF

¶¶ 40, 41.

        The damage patterns on the floodwall and the barge likewise confirm that the barge did

not arrive at the floodwall until the South Breach had already occurred. In particular, the

physical evidence showed that the barge came into contact with the concrete cap of the floodwall

at the far southern end of the South Breach, away from the area where the breach formed (i.e.,

the area where the floodwall was pushed back in a “bow” shape). SMF ¶ 39. That physical

evidence included striations on the bottom of the barge that matched the bent rebar at the far

southern end of the breach, away from the main “bow” where the breach had already formed,

and concrete debris showing the barge had necessarily passed over a portion of the fallen

floodwall before coming into contact with the concrete cap at the end of the already-existing




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breach. Id. The Court concluded that this physical evidence “convincingly demonstrated that

the Barge came into the Ninth Ward after the South Breach had occurred.” FFCL at 34.12

                 3.       Plaintiffs have no evidence to create a genuine dispute.

         Plaintiffs’ evidence does not suffice to create a genuine fact dispute regarding the South

Breach. As with the North Breach, plaintiffs supplied no fact witness or expert testimony that

would permit a reasonable jury to rule in their favor.

         Plaintiffs’ attempted reliance on supposed “eyewitness” testimony must fail because the

witnesses’ testimony is equivocal and because the events described therein (at least, as plaintiffs

interpret the testimony) are scientifically impossible. For instance, the testimony of Terry

Adams does not create a genuine fact dispute because, although he purported to have seen an

object approach and then pass through the floodwall from a vantage point over half a mile away,

he could not identify that object as a barge. Adams Tr. 261:24-25, 262:7, 264:9 (“big object”

that “looked like a big black house”); id. at 280:6-7 (Adams vantage point was 2,950 feet away)

(SMF Ex. 1.A). Moreover, as the Court found, even if plaintiffs’ gloss on Mr. Adams’ testimony

were accepted, that testimony would require the barge to “be moving in a direction contrary to

the prevailing winds which have been established beyond peradventure” and thus to describe an

impossible event. FFCL at 24. The testimony of Arthur Murph similarly does not create a

genuine fact dispute because his testimony was equivocal – or, as the Court described it,

“inconsistent and virtually impossible to follow” and “lack[ing] reasonable specificity” (FFCL at

32) – and because, in any event, he did not testify to having seen the barge until after the breach


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  Physical evidence also established that the barge could not have departed the area of the LNA Terminal prior to
9:00 a.m. on the morning of August 29. As the Court found, a covered gantry protruding over the water toward the
south end of the Terminal area provided “substantial physical proof” that the barge did not exit the terminal area
until after 9:00 a.m., because otherwise the gantry would have suffered damage based on the water levels in the
IHNC prior to that time, but no such damage was observed on the gantry or on the fiberglass covers of the barge.
FFCL at 27-28.


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had occurred and the floodwaters had risen “as high as the gutter” on his home. Murph Tr.

700:7-9 (SMF Ex. 1.F). Finally, the deposition testimony of Sidney Williams (who did not

appear at trial) was internally “contradictory” (FFCL at 32) and, indeed, was “discounted” by

plaintiffs’ own expert. Marino Tr. 1315:8-18 (SMF Ex. 1.I).

        Similarly, the testimony of “boom witnesses” does not create a genuine fact dispute. As

the Court observed, “[b]ooms were heard all over indicating the rupturing of waterstops and the

failures of the floodwalls.” FFCL at 31 n.18. Accordingly, the fact that witnesses heard “boom”

noises or other loud noises in the vicinity of the IHNC breaches provides no basis to infer that

the noises were created by a barge. See Little, 37 F.3d at 1077 (no basis to infer “nasal fatigue”

caused failure to evacuate); Michaels, 202 F.3d at 753-54 (no basis to infer negligence caused

contaminated pump lines).

        Finally, plaintiffs’ expert evidence fails to present a genuine fact dispute regarding the

South Breach. Plaintiffs’ experts utterly failed to explain how the barge could possibly have

been present at the site of the South Breach at the time that the breach occurred. As the Court

found, plaintiffs’ expert on causation “was unable to testify as to the angle of the barge’s

trajectory, the speed of the barge, the force acting on the barge or its momentum when it

contacted the wall,” and their expert regarding barge movement “did not supply an explanation

either.” FFCL at 28. Thus plaintiffs’ expert evidence cannot prevent summary judgment with

respect to the South Breach. See, e.g., Michaels, 202 F.3d at 753-54 (expert evidence that lacked

“probative value” did not create genuine fact dispute).

        The bottom line, as the Court found, is that “there is simply no proof in the record that

there was a force at work that could have propelled the Barge to hit the floodwall at the South

Breach at 6:30 a.m.” FFCL at 29 (emphasis added). The determination that the barge did not



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cause the flooding resulting from the South Breach “is consistent with all of the other

independent studies issued concerning the flooding which occurred in the aftermath of Hurricane

Katrina” including “IPET, ILIT, and Team Louisiana.” FFCL at 33; SMF ¶ 43. All of the

evidence points in a single direction: the barge passed through the open breach after the flooding

had already occurred. FFCL at 36 (“Simply put, the Barge was a consequence not a cause.”).

There is no basis on which a reasonable jury could conclude otherwise.

III.    IT IS SCIENTIFICALLY IMPOSSIBLE FOR A BARGE IMPACT WITH THE
        CONCRETE CAP TO HAVE CAUSED THE FLOODWALL TO FAIL.

        The record establishes a second, independent ground for the entry of summary judgment

in favor of LNA – that it was impossible for a barge impact, if it had occurred, to have caused the

floodwall to lose the support of its embedded sheetpile and anchoring soil. Plaintiffs have no

evidence from which a reasonable jury might conclude that a barge impact was even capable of

causing the sheetpile to dislodge as occurred at the site of both breaches.

        The floodwalls along the IHNC were “I-wall” structures consisting of twenty-foot-long

steel sheet pile driven into the ground to a depth of around seventeen feet, topped by a six-foot

concrete monolith. SMF ¶ 32. The concrete portion of the wall was comprised of two “pours,”

separated by a horizontal construction joint located about six inches above the top of the steel

sheet pile. Id. At trial, the witnesses referred to the upper section of concrete, rising three feet

above the construction joint, as the “cap.” Bartlett Tr. 317:10-14 (SMF Ex. 1.B); Cushing Tr.

2071:12-2072:12 (SMF Ex. 1.N).

        As the Court observed, “[h]ow deep an I-wall is embedded into the ground controls the

stability of the structure.” FFCL at 5. Thus, the floodwall depended upon the embedded steel

sheet pile and its anchoring soils for stability. SMF ¶ 33. The concrete cap did not provide




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stability for the floodwall, but rather was intended to provide aesthetic appeal, to protect against

rust, and to add some height to the wall. SMF ¶ 34.

        The undisputed evidence at trial showed that a barge impact with the concrete cap, if it

had occurred, would cause only localized damage to the concrete cap but would not deflect or

disturb the sheet pile or the soil in which it was buried. SMF ¶ 35. Dr. Cushing provided

unrebutted calculations demonstrating that this is so, and analogized the situation to pushing a

book on top of a table – the book moves, but the table does not. Id. Physical and photographic

evidence from other barge impacts with floodwalls demonstrates exactly this phenomenon –

localized damage to the concrete cap, but no disturbance of the underlying sheet pile. Id. Indeed

the localized shearing damage that was evident at the southern end of the South Breach, where

the barge made contact with the wall as it passed through the already-open breach, demonstrates

that a barge impact does not affect the underlying sheet pile. Id.

        Plaintiffs offered no competent expert evidence to rebut this showing that a barge impact

with the concrete cap could not possibly have caused the deflection of the steel sheetpile

anchoring the floodwall. As the Court noted, neither of plaintiffs’ principal experts (Dr. Marino

and Mr. Pazos) provided any analysis or explanation of how the barge could possibly have

impacted the wall and caused it to fail. FFCL at 28 (plaintiffs’ experts unable to testify “as to the

angle of the barge’s trajectory, the speed of the barge, the force acting on the barge or its

momentum when it contacted the wall”). Indeed, plaintiffs’ expert Mr. Bartlett conceded that

the force of a barge impact “could not be transferred down to the sheet pile to cause the sheet

pile to be disturbed.” Bartlett Tr. 364:15-19 (SMF Ex. 1.B). Thus the record contains no

evidence that could support a finding that a barge impact (if one had occurred) was even capable

of causing the floodwall to lose the support of the embedded sheetpile and anchoring soil.



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         The situation here is directly analogous to a toxic exposure case in which proof of

causation fails – and summary judgment is appropriate – because the claimed exposure cannot

have caused the physical symptoms alleged by the plaintiff. E.g., In re Ingram Towing Co., No.

93-3311, 1995 U.S. Dist. LEXIS 15034, at *3 (E.D. La. Oct. 4, 1995) (Duval, J.) (finding no

causation because it was “impossible for any person to have become ill due to the oil spill from

drinking tap water in the days following the accident”); Molden v. Ga. Gulf Corp., 465 F. Supp.

2d 606, 613 (M.D. La. 2006) (finding no causation where “the level of exposure was not

sufficiently high to give rise to the physical injuries complained of by Plaintiffs”). The supposed

barge impact here was simply not capable of causing the IHNC floodwall failures.

IV.      LEGAL PRESUMPTIONS DO NOT AFFECT THE SUMMARY JUDGMENT
         ANALYSIS.

         Plaintiffs cannot avoid summary judgment by invoking burden-shifting presumptions

such as the “Pennsylvania Rule.” That rule comes into play when an injury results from a

maritime collision in which a party has violated a statutory provision designed to avoid

collisions, and requires that party to show its violation did not cause the collision. The

Pennsylvania, 86 U.S. (19 Wall.) 125 (1874). The Pennsylvania Rule has no application here

because plaintiffs have not shown that there was an injury-causing allision and because, in any

event, the presumption has been pierced by the presentation of evidence showing that the barge

did not cause – and could not have caused – either of the two IHNC floodwall breaches.

         A.      Plaintiffs Bear the Burden of Showing a Flood-Causing Allision.

         The Pennsylvania Rule only operates after the plaintiffs have established that their

injuries resulted from a maritime collision (as well as that the defendant violated the law).13 It

does not create a presumption that an injury-causing collision occurred. In Gosnell v. United
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  Though LNA denies any statutory or other violation, this summary judgment motion does not depend on that
position.


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States, 262 F.2d 559, 563-64 (4th Cir. 1959), a statutory violation led to the breakup of the

defendant’s vessel eight days before the sinking of the plaintiff’s vessel, but it was disputed

whether the defendant’s vessel had caused the sinking of plaintiff’s vessel, that is, whether the

sinking was the result of a collision or something else. The Fourth Circuit held that the

Pennsylvania Rule did not apply to that issue. The court observed that, in The Pennsylvania, the

“damage resulted from the known collision between a known steamer and a known schooner.”

262 F.2d at 563 (emphasis added). “The rule, thus stated [in The Pennsylvania], was not there

invoked to establish either the ‘physical cause’ or the identity of one of two colliding objects, as

here sought, but simply placed the burden upon the schooner to show that its statutory violation

could not have been the cause, or one of the causes, of the collision between the known ships.”

Id. As such, the Pennsylvania Rule cannot “begin[] to operate [until] after” the plaintiff proves

“(1) the physical cause of his injuries; [and] (2) fault on the part of the person sought to be held

responsible.” Id. at 563-64.14

         The Fifth Circuit has twice refused to apply the Pennsylvania Rule in the absence of a

showing that the plaintiff’s injury resulted from a collision or other maritime incident involving

the defendant’s vessel or property. Candies Towing Co. v. M/V B&C Eserman, 673 F.2d 91, 95

(5th Cir. 1982) (adopting district court finding that “Plaintiffs failed to show that any of the

[statutory violations] above, either individually or collectively, were in any way connected to the

sinking of the barge.”); Bd. of Comm’rs of Port of New Orleans v. M/V Farmsum, 574 F.2d 289,




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   See also In re Complaint of Nautilus Motor Tanker Co., 85 F.3d 105, 114-15 (3d Cir. 1996) (Pennsylvania Rule
did not apply because plaintiff failed to establish that “the physical cause of the [plaintiff’s] harm” was a collision
involving the defendant, and holding that “a contrary rule ... would result in a presumption of liability following any
statutory violation no matter how remote or inconsequential such a violation may have been to the subsequent
accident”).


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297 (5th Cir. 1978) (Pennsylvania Rule did not apply due to lack of connection between fault

and casualty).15 Other courts have reached the same conclusion.16

         In sum, the Pennsylvania Rule does not relieve plaintiffs of their burden of establishing

that their injuries resulted from a maritime allision, i.e., of showing that the ING 4727 allided

with, and caused the breaches in, the IHNC floodwalls. Here, however, plaintiffs cannot prove

that an injury-causing allision occurred. With respect to the North Breach, the Court found that

“[p]laintiffs’ theory of liability as concerns the North Breach rests on the Barge alliding with the

floodwall,” and that “such an allision did not occur.” FFCL at 25. With respect to the South

Breach, the Court found that the evidence “indicates overwhelmingly that the floodwall

cataclysmically failed prior to the Barge coming into contact with the floodwall.” FFCL at 25-

26. For the reasons described above, there is no genuine fact dispute about those two

conclusions. Thus, there is no occasion for the Pennsylvania Rule to come into play.

         B.      Presumptions Are Pierced by Presentation of Evidence.

         In any event, the presentation of evidence eliminates the need to rely on burden-shifting

presumptions such as the Pennsylvania Rule. As the Court has found, “[o]nce evidence is

presented … presumptions become superfluous because the parties have introduced evidence to

dispel the mysteries that gave rise to the presumptions.” FFCL at 39 (quoting Combo Maritime,

Inc. v. United Bulk Terminal, LLC, 615 F.3d 599, 605 (5th Cir. 2010)). Here, it is important to

remember the origin of the Pennsylvania Rule – a collision at sea between two vessels in a dense

fog. The Pennsylvania, 86 U.S. (19 Wall.) at 126. In that case, no evidence remained for the


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  See also Pennzoil Producing Co. v. Offshore Express, Inc., 943 F.2d 1465, 1471 (5th Cir. 1991) (declining to
apply Rule where violation occurred two days earlier for a brief time and was otherwise unrelated to incident).
16
   See also Poulis-Minott v. Smith, 388 F.3d 354, 365 (1st Cir. 2004) (refusing to apply Pennsylvania Rule based on
“speculation” because information regarding what happened to vessel – including whether it sank at all – was
lacking); Wills v. Amerada Hess Corp., 379 F.3d 32, 42-43 (2d Cir. 2004) (declining to apply the Rule absent
showing that vessel’s actions were related to plaintiff’s cancer).


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court to assess liability. Here, by contrast, there is a vast body of evidence from which the Court

can determine (and has determined) that the barge did not cause the IHNC floodwall breaches.

The presentation of evidence has pierced whatever presumption might have applied in the

absence of such evidence.

        C.       Presumptions are Irrelevant Because No Reasonable Jury Could Find for
                 Plaintiffs.

        Finally, burden-shifting presumptions are irrelevant to this motion for summary judgment

because LNA has shown that no reasonable jury could conclude that the barge caused either of

the floodwall breaches. As the Court found in its Findings of Fact and Conclusions of Law,

LNA “has proven that it was not only ‘not a contributory cause of the accident’ but it simply was

not a cause of the breaching and catastrophic flooding that damaged plaintiffs,” and thus LNA

has fully satisfied whatever burden the Pennsylvania Rule might have imposed. FFCL at 41.

That conclusion applies equally to the remaining plaintiffs as it does to those whose claims were

adjudicated in the three-week trial that formed the basis for the Court’s Findings of Fact and

Conclusions of Law. As the Court found, “where as here there is overwhelming evidence that

the ING 4727 did not cause in any manner cataclysmic flooding of the Lower Ninth Ward, the

Court must so find.” FFCL at 41.




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                                         CONCLUSION

        The Court should enter summary judgment in favor of Lafarge North America Inc. on the

claims of all remaining plaintiffs in all “Barge Track” cases.


Dated: August 30, 2011                        Respectfully submitted,

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